                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 1 of 46



 1    Guy B. Wallace, State Bar No. 176151                               Gay C. Grunfeld, State Bar No. 121944
      gwallace@schneiderwallace.com                                      ggrunfeld@rbgg.com
 2    Mark T. Johnson, State Bar No. 76904                               Benjamin Bien-Kahn,State Bar No. 267933
      mjohnson@schneiderwallace.com                                      Bbien-kahn@rbgg.com
 3    Travis C. Close, State Bar No. 308673                              Jenny S. Yelin, State Bar No. 273601
      tclose@schneiderwallace.com                                        jyelin@rbgg.com
 4    Rachel L. Steyer, State Bar No. 330064                             Amy Xu, State Bar No. 330707
      rsteyer@schneiderwallace.com                                       axu@rbgg.com
 5    SCHNEIDER WALLACE                                                  ROSEN BIEN
      COTTRELL KONECKY LLP                                               GALVAN & GRUNFELD LLP
 6    2000 Powell Street, Suite 1400                                     101 Mission Street, Sixth Floor
      Emeryville, CA 94608                                               San Francisco, CA 94105-1738
 7    Telephone: (415) 421-7100                                          Telephone: (415) 433-6830
      Facsimile: (415) 421-7105                                          Facsimile: (415) 433-7104
 8
      Kathryn A. Stebner, State Bar No. 121088
 9    kathryn@stebnerassociates.com
      Brian S. Umpierre, State Bar No. 236399
10    brian@stebnerassociates.com
      STEBNER & ASSOCIATES
11    870 Market Street, Suite 1212
      San Francisco, CA 94102
12    Telephone: (415) 362-9800
      Facsimile: (415) 362-9801
13

14    Attorneys for Plaintiffs and the Proposed Classes
15                                         UNITED STATES DISTRICT COURT
16                                      NORTHERN DISTRICT OF CALIFORNIA
17                                                   OAKLAND DIVISION
18

19    STACIA STINER, et al., on behalf of themselves                  Case No. 4:17-cv-03962-HSG (LB)
      and all others similarly situated;
20
                         Plaintiffs,                                 DECLARATION OF GARY WATERS IN
21                                                                   SUPPORT OF PLAINTIFFS’ MOTION FOR
                   vs.                                               CLASS CERTIFICATION
22

23    BROOKDALE SENIOR LIVING, INC.;                                 Date:     May 26, 2022
      BROOKDALE SENIOR LIVING                                        Time:     2:00 p.m.
24    COMMUNITIES, INC.; et al.,                                     Place:    Courtroom 2
                                                                     Judge:    Hon. Haywood S. Gilliam, Jr.
25                       Defendants.
26

27

28
     [3779754.2]         DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 2 of 46



 1     I, Gary Waters, declare:

 2                 1.       I am a resident of Sonoma County. I make these statements based on personal

 3     knowledge and would so testify if called as a witness at trial.

 4                 2.       This Declaration is submitted in support of Plaintiffs’ Motion for Class Certification in

 5     Stiner et al., v. Brookdale Senior Living, Inc., et al., in the U.S. District Court, Northern District of

 6     California.

 7                                          QUALIFICATIONS AND BACKGROUND

 8                 3.       I am a licensed architect with over 25 years of experience in the practice of architecture.

 9     I currently am the President of Gary Waters Architectural Corporation. Since 2000, I have focused

10     my practice on accessibility and universal design, providing access management consulting services.

11     I have significant knowledge and experience in assessing compliance with all facility related

12     disability access laws and regulations, including the 2010 Americans with Disabilities Act Standards

13     for Accessible Design (2010 ADAS), the 1991 Americans with Disabilities Act Accessibility

14     Guidelines (1991 ADAAG), and the California Building Code (CBC). In 2014, I was a founding

15     Member of Pacific Access Consulting, LLC along with Anthony Goldsmith, providing access

16     consulting services to business, governmental agencies, attorneys, and architects & developers. In

17     early 2017, Mr. Goldsmith returned to legal practice. I continue to provide access consulting services

18     as Pacific Access Consulting, a Dba of Gary Waters Architectural Corporation.

19                 4.       As an access consultant, I maintain a balanced practice providing access litigation

20     consulting services for both plaintiff and defense, working with businesses and governmental entities

21     to assist them in meeting their respective obligations for barrier removal and program access, and as a

22     specialized access consultant for design and construction of new facilities and alterations projects.

23     Significant recent and current projects for which I provided access consulting services for design and

24     construction include:

25                      •   A 5000 student Housing Project at a University of California Campus

26                      •   San Francisco Conservatory of Music

27                      •   Sonoma Bungalows Boutique Hotel, Sonoma

28                      •   MacArthur Place Resort and Spa, Sonoma
     [3779754.2]             DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                            Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                         1
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 3 of 46



 1                      •   Nickel & Nickel Winery, Oakville

 2                      •   McDonald’s

 3                      •   Chevron

 4     A true and correct copy of my curriculum vitae is attached hereto as Appendix A.

 5                 5.       I am very familiar with the requirements of federal disability access design standards,

 6     including the 2010 Americans with Disabilities Act Standards for Accessible Design (ADAS), the

 7     1991 Americans with Disabilities Act Accessibility Guidelines (ADAAG) and the Uniform Federal

 8     Accessibility Standards (UFAS). I am also very familiar with the requirements of California

 9     accessibility design standards as codified within the California Building Code (CBC), also known as

10     Title 24 of the California Code of Regulations (Title 24). I am an accessibility consultant approved

11     by the Division of the State Architect for the review of K thru 12, Community College, and other

12     public projects. I review those plans for compliance with the CBC. I am familiar with both federal

13     and state disability access design standards as they relate to accessibility for persons with mobility

14     and/or vision disabilities.

15                 6.       I received my Bachelor of Architecture from California Polytechnic Institute, San Luis

16     Obispo in 1985. I have been a licensed architect in California since 1989, license renewal pending. I

17     am a Certified Access Specialist in California, CASp – 065, certification renewal pending.

18                                                      SCOPE OF MY WORK

19                 7.       Counsel for Plaintiffs retained Pacific Access Consulting and Jeff Mastin of Facility

20     Access Consulting, Inc. to survey Brookdale’s assisted living facilities in California. I conducted the

21     survey on behalf of Pacific Access Consulting. We were asked to determine the extent to which

22     Brookdale’s assisted living facilities and their physical elements comply with the standards set forth

23     in the 2010 ADAS, the 1991 ADAAG and the CBC, and to assess the sufficiency of the policies,

24     procedures, and practices of Defendants with respect to disability access for persons with mobility or

25     vision disabilities.

26
27

28
     [3779754.2]             DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                            Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                         2
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 4 of 46



 1                                             BASIS OF EXPERT TESTIMONY

 2    A.           Published Materials

 3                  8.    The opinions I express in connection with this litigation are based upon various

 4     professional trainings and seminars that I have either presented or attended, upon articles, reports,

 5     codes and publications that I have studied, my professional experience interpreting and applying the

 6     requirements of the ADA (including the standards of the 2010 ADAS, the 1991 ADAAG, and UFAS)

 7     and the CBC in practice, and my experience in working with public entities and owners to educate

 8     them on their obligations under the ADA, the 2010 ADAS, the 1991 ADAAG, and the CBC with

 9     regard to providing facilities that are accessible to individuals with disabilities.

10    B.           Review of Case Documents and Testimony

11                  9.    The opinions I express in this Declaration are based on review and analysis of various

12     documents, including: Defendants’ Supplemental Responses to Plaintiff Stacia Stiner’s

13     Interrogatories, Set one; various Brookdale renovation status spreadsheets; Brookdale’s 3 Year

14     Renovation Plan Consolidated Communities; CapEx review; 2017 Budgeted Projects Spreadsheet;

15     building department records for the facilities that I inspected (including certificates of occupancy);

16     and the transcript of the deposition testimony dated June 23, 2021 of Kevin Bowman, the witness

17     designated by Defendants pursuant to Federal Code of Civil Procedure 30(b)(6) on the topic of

18     Brookdale’s policies, procedures and practices regarding compliance with disability access

19     requirements. I also reviewed relevant portions of the deposition transcript of Audrey Withers, who

20     testified on behalf of Brookdale on July 23, 2021, as its rule 30(b)(6) designee on the topic of

21     employee training. I have reviewed Plaintiffs’ Third Amended Complaint and Defendants’ Answer.

22     I have reviewed the District Court’s opinions, specifically Stiner v. Brookdale Senior Living Inc., 354

23     F. Supp. 3d 1046 (N.D. Cal. 2019) and Stiner v. Brookdale Senior Living, Inc., 383 F. Supp. 3d 949

24     (N.D. Cal. 2019). Additionally, I have reviewed the site inspection reports prepared by Jeff Mastin.

25                  10.   The analysis and conclusions contained in this Declaration reflect my preliminary

26     findings and conclusions, and these are subject to revision and supplementation, as further

27     information becomes available through the discovery process in this case. My work is continuing. I

28     may supplement, revise, or change the opinions contained within this Declaration as I review
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       3
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 5 of 46



 1     additional documents produced and additional deposition testimony in this litigation and should I

 2     conduct further site inspections of Brookdale’s facilities.

 3    C.           Federal Disability Access Design Standards

 4                  11.   With the passage of the ADA, the Department of Justice issued the ADAAG standards.

 5     Since January 26, 1993, public accommodations have been obligated to perform new construction in

 6     compliance with the 1991 ADAAG. Since January 26, 1992, public accommodations have been

 7     obligated to perform alterations in compliance with the 1991 ADAAG. On September 15, 2010, the

 8     Department of Justice published updated accessible design standards, the 2010 ADA Standards for

 9     Accessible Design (2010 ADAS). For new construction and alterations commenced between

10     September 15, 2010 and March 15, 2012, public accommodations were permitted to choose and

11     ensure compliance with either the 2010 ADAS or the 1991 ADAAG. Physical construction or

12     alterations commenced by public accommodations on or after March 15, 2012 must comply with the

13     2010 ADAS.

14                  12.   It is considered the appropriate standard of professional care by California architects to

15     ensure that new construction and alterations be performed in compliance with both the CBC and the

16     applicable federal access standard, whichever is more restrictive. The goal in following the more

17     restrictive standard is to ensure the greatest degree of compliance with applicable codes and

18     regulations and consequently, to ensure the greatest usability for persons with disabilities, including

19     persons with mobility disabilities. I have utilized the most restrictive requirements of the applicable

20     federal access standard (2010 ADAS or ADAAG) and the CBC as the appropriate disability access

21     standard for our work with public accommodations in California. It is widely accepted among

22     California architects who work with public accommodations that compliance with the standards of

23     both the applicable federal access standard and the CBC, whichever is more restrictive, is necessary

24     to ensure that persons with mobility and/or vision disabilities are able to use the public facilities

25     safely and independently.

26                  13.   California architects and CASp’s are often asked to determine the extent to which the

27     facilities they inspect are subject to disability access requirements and the particular access standards

28     that apply. It is my opinion that the Brookdale assisted living facilities in California that I surveyed
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       4
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 6 of 46



 1     are covered by Title III of the ADA and by the CBC. Specifically, the assisted living and memory

 2     care facilities operated by Brookdale are “places of public accommodation” as defined by the

 3     Americans with Disabilities Act (ADA) 42 U.S.C. § 12181((7) and its applicable regulations. As

 4     such, the public and common areas of the assisted living and memory care facilities must comply

 5     with the requirements of the ADA and its disability access standards, including the 2010 ADAS and

 6     the 1991 ADAAG.

 7                              SITE INSPECTIONS OF BROOKDALE’S FACILITIES

 8                 14.   I inspected the following Brookdale facilities as part of my work on this case to date. I

 9     was asked primarily to determine the extent to which Brookdale’s assisted living facilities and their

10     physical elements comply with the standards set forth in the 2010 ADAS, the 1991 ADAAG, and the

11     CBC.

12                              1.) Brookdale Auburn – 11550 Education St. (Exhibit A)

13                              2.) Brookdale Cortona Park – 150 Cortona Way (Exhibit B)

14                              3.) Brookdale Carlsbad – 3140 El Camino Real (Exhibit C)

15                              4.) Brookdale Carmel Valley – 13101 Hartfield Ave., Del Mar (Exhibit D)

16                              5.) Brookdale Citrus Heights - 7375 Stock Ranch Rd. (Exhibit E)

17                              6.) Brookdale Danville – 950 Diablo Rd. (Exhibit F)

18                              7.) Brookdale Lodi – 2150 Kettleman Ln. (Exhibit G)

19                              8.) Brookdale Lodi – 2220 Kettleman Ln. (Exhibit H)

20                              9.) Brookdale N. Fremont – 38035 Martha Ave., Fremont (Exhibit I)

21                             10.) Brookdale Northridge – 17650 Devonshire St. (Exhibit J)

22                             11.) Brookdale Orangevale – 6125 Hazel Ave. (Exhibit K)

23                             12.) Brookdale Rancho Mirage – 72201 Country Club Dr. (Exhibit L)

24                             13.) Brookdale Mirage Inn – 72750 Country Club Dr. (Exhibit M)

25                             14.) Brookdale Roseville – 1 Somer Ridge Dr. (Exhibit N)

26                             15.) Brookdale Clairemont – 5292 Clairemont Mesa Blvd. (Exhibit O)

27                             16.) Brookdale San Jose – 1009 Blossom River Way (Exhibit P)

28                             17.) Brookdale San Juan Capistrano – 31741 Rancho Viejo Rd (Exhibit Q)
     [3779754.2]          DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      5
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 7 of 46



 1                              18.) Brookdale San Ramon – 18888 Bollinger Canyon Rd. (Exhibit R)

 2                              19.) Brookdale Santa Rosa – 3250 Chanate Rd. (Exhibit S)

 3                              20.) Brookdale Fountaingrove – 300 Fountaingrove Parkway (Exhibit T)

 4                              21.) Brookdale Scotts Valley – 100 Lockewood Ln. (Exhibit U)

 5                              22.) Brookdale South Tarzana – 18700 Burbank Blvd. (Exhibit V)

 6                              23.) Brookdale Tracy – 355 W. Grantline Rd. (Exhibit W)

 7                              24.) Brookdale Windsor – 907 Adele Dr. (Exhibit X)

 8                 15.   I inspected all areas of the foregoing facilities that Defendants permitted to inspect. I

 9     inspected the following elements:

10                       1.) Exterior designated accessible routes of travel, including but not limited to walks,

11                           curb ramps, and ramps

12                       2.) Parking

13                       3.) Passenger drop-off and loading zones

14                       4.) Exterior patios and courtyards

15                       5.) Exterior entry and exit doors

16                       6.) All interior public spaces available to residents and guests

17                       7.) Corridors and hallways

18                       8.) Stairs

19                       9.) Wayfinding and room identification signage

20                       10.)    Elevators

21                       11.)    Representative resident units

22                 16.   I also inspected a sample of the resident units that was selected by Defendants for each

23     facility. Pursuant to the parties’ Stipulation and Order Regarding Accessibility Inspections, I

24     inspected resident units that were identified by Defendants pursuant to Paragraph 7, which provides

25     in pertinent part: “Defendants hereby stipulate for purposes of class certification and the merits as to

26     Plaintiffs’ claims under the Americans with Disabilities Act of 1990 (42 U.S.C. § 12101 et
27     seq.)(“ADA”) and the Unruh Civil Rights Act (Cal. Civ. Code § 51 et seq.) (“Unruh Act”) that the
28
     [3779754.2]          DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      6
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 8 of 46



 1     residential units at a particular Location that are made available to Plaintiffs’ counsel and their

 2     experts for inspection are typical, in all material respects affecting disability access, of all other

 3     residential units of the same configuration (e.g., studio, one-bedroom, two-bedroom, etc.) at that

 4     Location. Defendants further stipulate that no residential units at any Location that were not made

 5     available to Plaintiffs and their experts for inspection have any features, elements or dimensions that
 6     provide greater access to persons with disabilities than those that were inspected.” Dkt. No. 154 at ¶
 7     7.
 8                 17.   At each of the facilities I surveyed, I inspected between 8 and 16 resident rooms as
 9     specified in each individual survey report. These included rooms of different configurations, sizes,
10     and types, including rooms for both assisted living residents and memory care residents and rooms
11     that were both occupied and unoccupied on the date of the inspection. The exemplar rooms I was
12     permitted to inspect were identified by Brookdale’s counsel, who were present at all of the surveys I
13     conducted. My understanding, based on a stipulation between Brookdale and Plaintiffs, is that the
14     rooms identified by counsel for Brookdale that I inspected at each location were representative in all
15     material respects affecting disability access, of all other residential units of the same configuration
16     (e.g., studio, one-bedroom, two-bedroom, etc.) at the location. (Docket No. 154, paragraph 7). Based
17     on that same Stipulation, it is my understanding that no residential units that were not made available
18
       for inspection at any of these facilities have any features, elements or dimensions that provide greater
19
       access to persons with disabilities than those that were inspected.
20
                   18.   The inspections were not comprehensive. As discussed, only a representative sample of
21
       resident units was made available for inspection. Further, in some instances, I was unable to inspect
22
       all of the elements in some of the resident’s units. It was sometimes infeasible to complete the
23
       inspections during the time limits that were imposed (i.e., a single day of inspection typically of 7-8
24
       hours duration, including breaks). In addition, it was more difficult to inspect the units that were
25
       occupied. Defendants insisted that the inspector not take photographs that included any of the
26
       resident’s personal effects. In many instances, this made it impossible to take photographs that
27
       included measurements of elements of the unit because the photograph would necessarily include an
28
     [3779754.2]          DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      7
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 9 of 46



 1     image of a personal effect. This significantly hampered our ability to inspect the bathrooms, kitchens

 2     and bedrooms in units that were occupied. Because measurements are often included as part of the

 3     photographs that are taken in our access inspections, this limitation made conducting the inspections

 4     in this case more difficult and time consuming and was particularly problematic because of the

 5     limited, one-day nature of the inspections. As a result, for occupied units, to save time and minimize
 6     the imposition on the resident, if a unit contained the same barriers as a previously inspected unit,
 7     certain measurements of elements that were the same as those previously inspected were not repeated.
 8     The facility reports indicate the units in which this was the case. It is important to note, however, that
 9     all units that were inspected contained numerous elements that did not comply with the 1991
10     ADAAG and/or the requirements of the CBC.
11                                                           METHODOLOGY
12                 19.   In conducting my surveys, I follow the methods outlined in the U.S. Department of
13     Justice’s ADA Best Practices Tool Kit, Introduction to Appendices 1 and 2. The equipment I use
14     includes a two-foot digital smart level, a metal tape measurer, a door pressure gauge, and a camera. I
15     record the information in note form. Typically, I will begin a survey by familiarizing myself with the
16     facility. For Brookdale, I then began the inspection with the interior features. The sequence of the
17     interior inspection varied from facility to facility as necessary to minimize disruption for residents. I
18     noted whether required elements are provided or not and record dimensions, slopes, and cross slopes
19     as appropriate. In conducting the survey, I identified if the required accessible features are provided
20     and if they meet the most restrictive requirements of the 1991 ADAAG or the 2010 ADAS,
21     depending on the date of construction. In this case, as a baseline for accessibility under California
22     law, I also used the 2016 and 2019 CBC. The survey typically involves taking dimensions, slopes,
23     and cross slopes, as applicable, and photographs.
24                 20.   In conducting the survey, I documented all dimensional data as close as I could measure
25     given the limitations of the survey tools and my human capability. In preparing the reports, I
26     considered and applied dimensional tolerances as appropriate. Items that are identified as barriers in
27     my facility reports are outside of what I would consider reasonable dimensional tolerances.
28
     [3779754.2]          DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                         Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                      8
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 10 of 46



 1     Moreover, when a standard includes only a maximum, it is considered best practice in the industry to

 2     design and construct well below that maximum to ensure compliance with the standard. The same is

 3     true for a standard that includes a minimum; it is considered best practice to design and construct well

 4     above that minimum to ensure compliance.

 5                  21.   The detailed survey findings and photographs of the areas and elements listed in

 6     Paragraph 15 above are attached as Exhibits A through X. Below is a summary of those findings.

 7                                                                 FINDINGS

 8                  22.   I inspected the following Brookdale facilities that Defendants admit were newly

 9     constructed after January 26, 1993 (See Defendants’ Supplemental Responses to Plaintiff Stacia

10     Stiner’s Interrogatories, Set One):

11                    1.) Carlsbad

12                    2.) Carmel Valley

13                    3.) Citrus Heights

14                    4.) Cortona Park

15                    5.) Danville

16                    6.) Fountaingrove

17                    7.) Kettleman Lane

18                    8.) Lodi

19                    9.) Mirage Inn

20                    10.)        North Fremont

21                    11.)        Northridge

22                    12.)        Roseville

23                    13.)        San Juan Capistrano

24                    14.)        Windsor

25                  23.   These facilities are all required to comply fully with the requirements of the 1991

26     ADAAG. 28 C.F.R. § 36.401(a); § 36.406(a) (facilities constructed on or after January 26, 1993, and

27     before September 15, 2010, must comply with the 1991 ADAAG). Based on the results of my

28     inspections, none of the facilities identified above complied with the 1991 ADAAG.
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       9
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 11 of 46



 1                  24.   All of Defendants’ facilities that were constructed after January 26, 1993, contained

 2     numerous barriers to persons with mobility and/or vision disabilities, including the following types of

 3     barriers that do not comply with the 1991 ADAAG. The residential units contained numerous barriers

 4     in the bathrooms. These included, but are not limited to, toilets that are too high and grab bars that do not

 5     meet the standards set forth in ADAAG. The bathrooms are also characterized by showers, sinks and

 6     cabinets that do not comply with ADAAG and that are inaccessible. These conditions were present in all

 7     of the residential units that I inspected. These barriers have the effect of denying access to residents with

 8     disabilities by making it difficult or impossible for them to use the toilet, shower and/or wash their hands.

 9                  25.   The resident units were also characterized by numerous barriers in their kitchens. Among

10     other barriers, the kitchens in the units contained counters that were too high and inaccessible sinks that

11     lacked the heights or reach-ranges required by ADAAG. Built-in microwave units are mounted too high

12     and cannot be used by wheelchair users. Because of these barriers, it is either difficult or impossible for

13     residents with disabilities to use their kitchens, particularly with regard to preparing or eating food, or

14     washing their hands.

15                  26.   Most units that I inspected have balconies that are inaccessible to residents with mobility

16     disabilities because of high thresholds that do not comply with the 1991 ADAAG. These thresholds

17     significantly exceed the maximum requirements of the ADAAG, and wheelchair or walker users would

18     find it difficult or impossible to navigate them on their own without assistance. Also, in most of the units

19     I inspected the closet rods in the closets are mounted too high. This makes it difficult or impossible for

20     residents with disabilities to hang up or get their clothes without assistance.

21                  27.   The areas outside of the facilities, including their parking lots, paths of travel and the

22     primary entrances to the building, were also characterized by numerous barriers. The designated

23     “accessible” parking spaces including excessive running slopes and cross slopes, inadequate widths, and

24     non-compliant signage, and do not comply with ADAAG.

25                  28.   The paths of travel and ramps leading from the pedestrian right of way or parking spaces

26     and to and within the facilities also contained excessive running slopes and cross-slopes, as well as

27     sections of pavement that were broken and uneven, creating a falling or tripping hazard for residents with

28     mobility and/or visual impairments. As a result of these barriers, residents with disabilities encounter
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       10
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 12 of 46



 1     barriers that limit or deny equal access when they attempt to park at, approach and/or enter these facilities.

 2     Generally, the exterior path of travel at Brookdale’s new facilities contained many barriers that make them

 3     more difficult for residents with mobility and/or vision disabilities to traverse, and this limits their ability

 4     to access the exterior areas of these facilities.

 5                  29.   In almost all cases the Brookdale facilities that I inspected had one accessible bus or van

 6     that seats, at most, accommodated two wheelchair users. At each facility where there was a driver

 7     available, I observed the bus or van lift deployed at the normal pick-up and drop off area. At the majority

 8     of facilities there was not a compliant accessible drop-off and pick-up location.

 9                  30.   The common areas inside Brookdale’s new facilities also contained many barriers that deny

10     or limit full and equal access to residents with disabilities. The public restrooms contain toilets that are

11     mounted too far from the adjacent wall, non-compliant grab bars, inaccessible sinks and coat hooks that

12     are mounted too high. These barriers deny or limit access.

13                  31.   The dining rooms contain numerous barriers, including but not limited to tables that are too

14     low and that do not provide adequate knee clearance to residents with mobility disabilities. The path of

15     travel between tables or other furniture is in many instances too narrow and does not comply with federal

16     or state access standards, thus making it more difficult for residents with disabilities to travel within the

17     dining rooms and other common areas. The hallways contain protruding objects that are hazards to

18     residents who are blind or who have low vision.

19                  32.   Similarly, the stairs in Brookdale’s facilities do not comply with applicable access standards

20     and in many instances lack proper contrast striping, thus making them hazardous for residents with

21     mobility and/or vision disabilities to use. The stairs also lack compliant handrail extensions at the top and

22     bottom landings so that residents with disabilities who are ambulatory can steady themselves and keep

23     their balance as they transition between the landings and the stairs.

24                  33.   In addition, these facilities are also required to comply with any requirements of the

25     applicable CBC, including those that are more stringent in terms of their requirements for disability

26     access than the ADAAG. In most instances, however, the CBC requirement(s) for a particular

27     element are the same of those of the ADAAG and/or the 2010 ADAS. Based on my inspection

28
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       11
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 13 of 46



 1     results, none of the facilities identified above in Paragraph 22 complied with the version of the CBC

 2     that was applicable at the time of construction.

 3                                            New Facilities Under California Law

 4                  34.   Several of the other facilities that I inspected were constructed prior to January 26,

 5     1993, but were new facilities under California law (i.e., the facility was constructed after July 1,

 6     1970). During the time period between July 1, 1970, and December 31, 1981, newly constructed

 7     facilities were required to comply with the accessibility standards set forth in the American Standards

 8     Associations Specification A117.1/1961. After December 31, 1981, newly constructed facilities were

 9     required to comply with the access requirements of Title 24 of the California Code of Regulations

10     (also known as the 1981 CBC). New iterations of the access requirements of the CBC become

11     effective every three years. My inspections showed that none of these facilities were fully compliant

12     with the applicable requirements of the CBC.

13                  35.   According to building department records, Brookdale Clairemont, located in San Diego,

14     was originally constructed in 1977. Under California law, this facility was therefore required to

15     comply with the American Standards Associations Specification A117.1/1961. My inspection

16     identified the following barriers at the Clairemont facility, among others, that do not comply with the

17     American Standards Associations Specification A117.1/1961:

18                        a. Accessible parking spaces with steep surface slopes

19                        b. Inadequate number of accessible parking spaces provided

20                        c. Door maneuvering clearances that are too steep

21                        d. Doors with inadequate maneuvering clearances

22                        e. Door thresholds that are too high

23                        f. Doors equipped with inaccessible thumb latch operating hardware

24                        g. Signs that lack tactile characters for the blind

25                        h. Visual fire alarms provided without audible alarms

26                        i. Items that are beyond accessible reach range

27                        j. Unprotected hazardous elements located under lavatories

28                        k. Inadequate handrail extensions at stair handrails
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       12
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 14 of 46



 1                 And within resident units, barriers including but not limited to:

 2                        l. Door thresholds that are too high

 3                        m. Closet shelves/clothing rods that are located too high

 4                        n. Accessories such as coat hooks, and window blinds and latches that are located too

 5                            high

 6                        o. Items such as thermostats and exhaust fans that are located beyond accessible reach

 7                            range

 8                        p. Patio/balcony doors that are not wide enough

 9                        q. Bathroom doors that are not wide enough

10                        r. Bathrooms with inadequate space for a person in a wheelchair to maneuver

11                        s. Inadequate width at toilet alcoves

12                        t. Toilets with no grab bars and/or inadequate grab bars

13                        u. Bathroom lavatories with no or inadequate knee/toe clearance

14                        v. Bathroom lavatory mirrors that are located too high

15                  36.   According to building department records, Brookdale San Jose was originally

16     constructed in 1986. Under California law, this facility was therefore required to comply with the

17     1984 iteration of the CBC. My inspection identified the following barriers at this facility, among

18     others, that do not comply with the CBC standards:

19                        a. Exterior walkways with excessive running slope

20                        b. Signs that lack tactile characters for the blind

21                        c. Doors equipped with inaccessible operating hardware

22                        d. Doors with inadequate maneuvering clearances

23                        e. Door maneuvering clearances that are too steep

24                        f. Doors that are not smooth on the bottom of the push side

25                        g. Doors that require too much force to operate

26                        h. Items that are beyond accessible reach range

27                        i. Unprotected hazardous elements located under lavatories

28                        j. Lavatories with inadequate knee and/or toe clearance
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       13
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 15 of 46



 1                        k. Accessories in restrooms that are beyond accessible reach range

 2                        l. Restroom mirrors that are too high

 3                        m. Toilet flush levers that are located on the wrong side of the toilet

 4                 And within resident units, barriers including but not limited to:

 5                        n. Patio/balcony door thresholds that are too high

 6                        o. Closet shelves/clothing rods that are located too high

 7                        p. Accessories such as coat hooks, and window blinds and latches that are located too

 8                            high

 9                        q. Operable controls for items such as thermostats and exhaust fans that are located

10                            beyond accessible reach range

11                        r. Bathroom lavatories with no or inadequate knee/toe clearance

12                        s. Unprotected hazardous elements located under lavatories

13                        t. Accessories in bathrooms that are beyond accessible reach range

14                        u. Shower thresholds that are too high

15                        v. Showers that lack an accessible wall-mounted seat

16                        w. Shower hand-held sprayers that are located too high

17                  37.   According to building department records, Brookdale Tracy was originally constructed

18     in 1987. Under California law, the requirements of the 1984 CBC would apply to this facility. My

19     inspection identified the following barriers at this facility, among others, that do not comply with the

20     CBC standards:

21                        a. Signs that lack tactile characters for the blind

22                        b. Doors with inadequate maneuvering clearances

23                        c. Doors that close too quickly

24                        d. Elements that protrude from the side or above, presenting hazards to the blind

25                        e. Items that are beyond accessible reach range

26                        f. Unprotected hazardous elements located under lavatories

27                        g. Accessories in restrooms that are beyond accessible reach range

28                        h. Restroom mirrors that are too high
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       14
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 16 of 46



 1                        i. Toilet flush levers that are located on the wrong side of the toilet

 2                        j. Doors with inadequate maneuvering clearance

 3                        k. Closet shelves/clothing rods that are located too high

 4                        l. Operable controls for items such as thermostats and exhaust fans that are located

 5                            beyond accessible reach range

 6                        m. Kitchen sinks with inadequate knee and toe clearance

 7                        n. Windows without inaccessible latching hardware

 8                        o. Inadequate width at toilet alcoves

 9                        p. Bathroom lavatory mirrors that are located too high

10                        q. Toilets with no grab bars and/or inadequate grab bars

11                        r. Bathroom lavatories with no or inadequate knee/toe clearance

12                        s. Shower thresholds that are too high

13                        t. Showers that lack an accessible wall-mounted seat

14                        u. Shower hand-held sprayers that are located too high

15                  38.   According to building department records, Brookdale South Tarzana was originally

16    constructed in 1988. Under California law, the requirements of the 1987 CBC would apply to this

17    facility. My inspection identified the following barriers at this facility, among others, that do not

18    comply with the CBC standards:

19                        a. Exterior walkways that are not wide enough

20                        b. Exterior walkways with excessive running slope

21                        c. Accessible parking spaces with excessive surface slopes

22                        d. Inadequate number of accessible parking spaces

23                        e. Signs that lack tactile characters for the blind

24                        f. Door thresholds that are too high

25                        g. Doors with inadequate maneuvering clearances

26                        h. Door maneuvering clearances that are too steep

27                        i. Doors that require too much force to operate

28                        j. Doors that close too quickly
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       15
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 17 of 46



 1                        k. Gratings/gaps with excessive wide openings

 2                        l. Inadequate width at toilet alcoves

 3                        m. Inadequate side grab bar at toilet

 4                        n. Accessories in restrooms that are beyond accessible reach range

 5                        o. Restroom mirrors that are too high

 6                        p. Toilet flush levers that are located on the wrong side of the toilet

 7                        q. Toilet located too far from the wall

 8                        r. Inadequate handrail extensions at stair handrails

 9                        s. Stairs without or with inadequate contrast striping at edges of steps and landings

10                 And within resident units, barriers including but not limited to:

11                        t. Doors with inadequate maneuvering clearance

12                        u. Doors with maneuvering clearances that are not level

13                        v. Accessories such as coat hooks, and window blinds and latches that are located too

14                            high

15                        w. Bathrooms with inadequate space for a person in a wheelchair to maneuver

16                        x. Inadequate width at toilet alcoves

17                        y. Bathroom lavatories with no or inadequate knee/toe clearance

18                        z. Shower thresholds that are too high

19                        aa. Shower hand-held sprayers that are located too high

20                  39.   According to building department records, Brookdale Orangevale was originally

21    constructed in 1988. Under California law, the requirements of the 1987 CBC would apply to this

22    facility. My inspection identified the following barriers at this facility, among others, that do not

23    comply with the CBC standards:

24                        a. Exterior walkways that are not wide enough

25                        b. Exterior walkways with excessive running slope

26                        c. Exterior walkways with excessive cross slope

27                        d. Ramps lacking handrails

28                        e. Lack of detectable warnings where pedestrian walks meet hazardous vehicular areas
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       16
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 18 of 46



 1                        f. Accessible parking spaces without access aisles

 2                        g. Accessible parking spaces with excessive surface slopes

 3                        h. Inadequate number of accessible parking spaces

 4                        i. Signs that lack tactile characters for the blind

 5                        j. Door thresholds that are too high

 6                        k. Doors that are not wide enough

 7                        l. Doors with inadequate maneuvering clearances

 8                        m. Door maneuvering clearances that are too steep

 9                        n. Doors that are not smooth on the bottom of the push side

10                        o. Doors that require too much force to operate

11                        p. Doors that close too quickly

12                        q. Elements that protrude from the side or above, presenting hazards to the blind

13                        r. Items that are beyond accessible reach range

14                        s. Inaccessible locking hardware on restroom door

15                        t. Inadequate width at toilet alcoves

16                        u. Inadequate side grab bar at toilet

17                        v. Lavatories with inadequate knee and/or toe clearance

18                        w. Accessories in restrooms that are beyond accessible reach range

19                        x. Restroom mirrors that are too high

20                        y. Toilet flush levers that are located on the wrong side of the toilet

21                        z. Toilet located too far from the wall

22                        aa. Inadequate handrail extensions at stair handrails

23                        bb. Stairs without or with inadequate contrast striping at edges of steps and landings

24                 And within resident units, barriers including but not limited to:

25                        cc. Doors with inadequate maneuvering clearance

26                        dd. Door thresholds that are too high

27                        ee. Balconies/patios lacking space for a person using a wheelchair

28                        ff. Closet shelves/clothing rods that are located too high
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       17
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 19 of 46



 1                        gg. Operable controls for items such as thermostats and exhaust fans that are located

 2                            beyond accessible reach range

 3                        hh. Kitchen sinks with inadequate knee and toe clearance

 4                        ii. Bathroom doors with inadequate maneuvering clearances

 5                        jj. Inadequate width at toilet alcoves

 6                        kk. Bathroom lavatory mirrors that are located too high

 7                        ll. Toilets with no grab bars and/or inadequate grab bars

 8                        mm.     Bathroom lavatories with no or inadequate knee/toe clearance

 9                        nn. Shower thresholds that are too high

10                        oo. Showers that lack an accessible wall-mounted seat

11                        pp. Shower hand-held sprayers that are located too high

12                        qq. Bathtubs that lack a built-in or portable seat

13                        rr. Bathtubs that lack grab bars in required locations

14                  40.   According to building department records, Brookdale San Ramon was originally

15    constructed in 1989. Under California law, the requirements of the 1987 CBC would apply to this

16    facility. My inspection identified the following barriers at this facility, among others, that do not

17    comply with the CBC standards:

18                        a. Exterior walkways with excessive running slope

19                        b. Exterior walkways with excessive cross slope

20                        c. Accessible parking spaces with excessive surface slopes

21                        d. Reception counter that is too high

22                        e. Signs that lack tactile characters for the blind

23                        f. Door thresholds that are too high

24                        g. Door maneuvering clearances that are too steep

25                        h. Doors that are not smooth on the bottom of the push side

26                        i. Doors that close too quickly

27                        j. Elements that protrude from the side or above, presenting hazards to the blind

28                        k. Restrooms with inadequate space for a person in a wheelchair to maneuver
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       18
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 20 of 46



 1                        l. Inadequate width at toilet alcoves

 2                        m. Inadequate grab bar at toilet

 3                        n. Unprotected hazardous elements located under lavatories

 4                        o. Accessories in restrooms that are beyond accessible reach range

 5                        p. Toilet flush levers that are located on the wrong side of the toilet

 6                        q. Toilet located too far from the wall

 7                        r. Inadequate handrail extensions at stair handrails

 8                        s. Stairs without or with inadequate contrast striping at edges of steps and landings

 9                 And within resident units, barriers including but not limited to:

10                        t. Doors equipped with inaccessible locking hardware

11                        u. Patio/balcony door thresholds that are too high

12                        v. Patio/balcony sliding doors that require too much force to operate

13                        w. Closet shelves/clothing rods that are located too high

14                        x. Accessories such as coat hooks, and window blinds and latches that are located too

15                            high

16                        y. Operable controls for items such as thermostats and exhaust fans that are located

17                            beyond accessible reach range

18                        z. Kitchen sinks with inadequate knee and toe clearance

19                        aa. Windows without inaccessible latching hardware

20                        bb. Bathroom doors with inaccessible locking hardware

21                        cc. Bathrooms with inadequate space for a person in a wheelchair to maneuver

22                        dd. Inadequate width at toilet alcoves

23                        ee. Toilets with no grab bars and/or inadequate grab bars

24                        ff. Toilet flush levers that are located on the wrong side of the toilet

25                        gg. Bathroom lavatories that are too high

26                        hh. Bathroom lavatories with no or inadequate knee/toe clearance

27                        ii. Shower thresholds that are too high

28                        jj. Bathtubs that lack a built-in or portable seat
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       19
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 21 of 46



 1                  41.   According to building department records, Brookdale Danville was originally

 2    constructed in 1989. Under California law, the requirements of the 1987 CBC would apply to this

 3    facility. My inspection identified the following barriers at this facility, among others, that do not

 4    comply with the CBC standards:

 5                        a. Exterior walkways with excessive running slope

 6                        b. Exterior walkways with excessive cross slope

 7                        c. Ramps with excessive running slope

 8                        d. Lack of parking tow away signage

 9                        e. Accessible parking spaces with excessive surface slopes

10                        f. Inadequate number of van accessible parking spaces

11                        g. Accessible parking spaces that are not wide enough

12                        h. Accessible spaces located so that users must pass behind other parked vehicles

13                        i. Signs that lack tactile characters for the blind

14                        j. Doors with inadequate maneuvering clearances

15                        k. Doors that are not smooth on the bottom of the push side

16                        l. Doors that require too much force to operate

17                        m. Doors that close too quickly

18                        n. Elements that protrude from the side or above, presenting hazards to the blind

19                        o. Lavatories with inadequate knee and/or toe clearance

20                        p. Unprotected hazardous elements located under lavatories

21                        q. Accessories in restrooms that are beyond accessible reach range

22                        r. Restroom mirrors that are too high

23                        s. Inadequate handrail extensions at stair handrails

24                        t. Stairs without or with inadequate contrast striping at edges of steps and landings

25                 And within resident units, barriers including but not limited to:

26                        u. Doors equipped with inaccessible locking hardware

27                        v. Doors with maneuvering clearances that are not level

28                        w. Patio/balcony sliding doors that require too much force to operate
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       20
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 22 of 46



 1                        x. Closet shelves/clothing rods that are located too high

 2                        y. Accessories such as coat hooks, and window blinds and latches that are located too

 3                            high

 4                        z. Operable controls for items such as thermostats and exhaust fans that are located

 5                            beyond accessible reach range

 6                        aa. Windows without inaccessible latching hardware

 7                        bb. Bathrooms with inadequate space for a person in a wheelchair to maneuver

 8                        cc. Inadequate width at toilet alcoves

 9                        dd. Toilets with no grab bars and/or inadequate grab bars

10                        ee. Bathroom lavatories with no or inadequate knee/toe clearance

11                        ff. Shower thresholds that are too high

12                        gg. Showers that lack an accessible wall-mounted seat

13                        hh. Shower hand-held sprayers that are located too high

14                        ii. Shower equipped with an enclosure that obstructs minimum clearances

15                  42.   In summary, none of the facilities that I inspected that were newly constructed under

16    California law between July 1, 1970, and January 26, 1993, complied with the California accessibility

17    standards that applied to them when they were built. Further, the barriers that I observed in those

18    facilities were of such a nature that they would deny or limit full and equal access to persons with

19    mobility and/or vision disabilities.

20                  43.   Pursuant to the ADA and California law, Brookdale is required to remove barriers that

21    do not comply with federal and state access standards from the newly constructed facilities that it

22    owns, operates and/or manages in California. See, e.g., 28 C.F.R. § 36.406(a)(5)(ii) (“Newly

23    constructed or altered facilities or elements covered by §§ 36.401 or 36.402 that were constructed or

24    altered before March 15, 2012 and that do not comply with the 1991 Standards shall, on or after

25    March 15, 2012, be made accessible in accordance with the 2010 Standards.”); Cal. Govt. Code §

26    4452 (“It is the intent of the Legislature that the building standards published in the State Building

27    Standards Code relating to access by the physically handicapped and the other regulations adopted by

28    the State Architect pursuant to Section 4450 shall be used as minimum requirements to insure that
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       21
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 23 of 46



 1    buildings, structures and related facilities covered by this chapter are accessible to, and functional for,

 2    the physically handicapped to, through, and within their doors, without loss of function, space, or

 3    facility where the general public is concerned. Any unauthorized deviation from such regulations or

 4    building standards shall be rectified by full compliance within 90 days after discovery of the

 5    deviation.”).

 6                  44.   Brookdale, however, does not have in place any policies or procedures that will enable it

 7    to comply with the requirements of federal and state law with respect to new construction and

 8    alterations. According to Mr. Bowman, the Division Vice President of Operations, West Division,

 9    and Brookdale’s Rule 30(b)(6) designee regarding disability access and Brookdale’s policies,

10    practices, and procedures with respect to disability access, Brookdale is not covered by Title III of the

11    ADA. Deposition of Kevin Bowman of June 23, 2021, at 18:12-19:9; 30:9-31:14. Similarly,

12    Brookdale official Audrey Withers, also testifying on behalf of Brookdale as a Rule 30(b)(6) witness,

13    stated that Brookdale’s California facilities do not “fall under” Title III of the ADA or its standards for

14    disability access. Deposition of Audrey Withers, Senior Human Resources Business Partner, of July

15    23, 2021, at 113:12-114:7.

16                  45.   Moreover, with respect to new construction or alterations to facilities, Brookdale has no

17    policies and procedures for ensuring compliance with Title III of the ADA or its access standards. Id.

18    at 42:14-43:6; 58:8-11; 62:13-20. Brookdale has no written definition of what is accessible or what

19    constitutes a barrier to persons with mobility or vision disabilities. Id. at 57:9-25; 63:10-18.

20    Brookdale has not conducted any survey or inspection to determine whether the assisted living

21    facilities that it owns, operates and/or manages, and that are covered by the new construction and/or

22    alterations requirements of the ADA and the Unruh Act, are in compliance with the 1991 ADAAG or

23    the CBC. Id. at 61:6-11; 115:3-118:25. Brookdale has set no deadline for removing any of the access

24    barriers in its newly constructed or altered facilities in California. Id. at 106:5-21.

25                                                             Alterations

26                  46.   According to building department records, many of the facilities that I inspected were

27    altered after January 26, 1992. As discussed above, the altered portions of those facilities were

28    required to comply with the requirements of federal and state access standards, whichever is more
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       22
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 24 of 46



 1    stringent in its requirements for disability access. In addition, an accessible path of travel should have

 2    been provided to the area(s) of alteration. The alterations projects I inspected included several that I

 3    would consider to be major projects (i.e., those with a valuation of more than $150,000). Such

 4    projects clearly trigger to the requirement to provide an accessible path of travel to the area(s) of

 5    alteration, including but not limited to a primary entrance to the building, the primary path of travel to

 6    the altered portion(s) of the facilities, and restrooms served the altered area(s). My inspections

 7    revealed several instances of non-compliant alteration projects, including but not limited to the

 8    following examples.

 9                  47.   Building department records show that at Brookdale Chanate there was a renovation to

10    the fifth floor of the existing facility with respect to the memory care unit. This included a

11    modification of the floor plans for common community spaces. The work undertaken in July of 2017

12    was subject to the 2010 ADAS and the 2016 CBC. The work was valued at $787,425.00.

13    CTRL0001554. The work included a renovation to the 5th floor to create a memory care unit

14    including the modification of existing space to create memory care residential units and common

15    spaces. My inspection identified many access barriers at both the resident units and common spaces

16    that were required to be compliant under the alteration standards of the federal and/or California

17    standards. The following are barriers with respect to this alteration that do not comply with federal

18    and/or California access standards:

19                  Within resident units, barriers included but are not limited to:

20                             a. Entry door peep holes that are too high

21                             b. Sliding closet door hardware that is not usable

22                             c. Closet pole and shelves that are not within reach range

23                             d. Window latches that require pinching to open

24                             e. Window blinds that require twisting of a wand or pulling a cord to open and

25                           close

26                             f. Bathroom lavatories without a compliant knee space

27                             g. Insufficient clearance at the toilet to make a transfer from a wheelchair

28                             h. Lack of required wheelchair maneuvering space in front of the toilet
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       23
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 25 of 46



 1                             i. Lack of compliant rear wall and side wall grab bars

 2                             j. Incorrect toilet locations in relation to a side wall that is not provided

 3                             k. Toilet paper dispensers that are not in an accessible location

 4                             l. Non-compliant showers with a curb that prevents a wheelchair user from rolling

 5                           in to make a transfer, a handheld shower that is not within reach range, and the lack

 6                           of a fold-down shower seat as required

 7                  Common area access barriers, including, but not limited to:

 8                              m. Lack of required knee space for a wheelchair user at the dining counter

 9                              n. Excessive slopes at the pull side of the door from the dining room to the

10                                   outside dining area

11                              o. Lack of required knee space at dining tables for persons using a wheelchair

12                              p. Bathrooms without the required maneuvering space in front of a toilet

13                              q. Thermostats that are not within reach range

14                              r. Lack of compliant geometric symbol door sign at restroom

15                              s. Paper towel dispensers at restrooms that are too high and not within reach

16                                   range

17                              t. Bathroom lavatories that are not correctly located to be accessible

18                              u. Bathroom lavatories without the required knee and toe space to be usable by a

19                                   person in a wheelchair

20                  48.   Building department records show that there were several significant alterations to

21    Brookdale San Jose that were performed after January 26, 1992. The City of San Jose issued Permit

22    No. BPM9972093 in November of 1999 for a 16,000 sq. ft. renovation of a central area of the facility.

23    The work was valued at $650,000. SANJ000792 - SANJ000794. In October of 2013 permit No.

24    2012-023350-MF was issued for a 24,428 sq. ft. conversion of the existing first and second floor, 41

25    units of independent living area to assisted living area, and 8,990 sq. ft conversion of the existing first

26    floor, 13 units of independent living area, to assisted living/memory care. No valuation was provided

27    for this conversion. SANJ000690. My inspection identified the following barriers with respect to this

28    alteration that do not comply with federal and/or California access standards:
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       24
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 26 of 46



 1                  Common area access barriers, including but not limited to:

 2                              a. A detectable warning is not provided at the curb ramp at the passenger drop-

 3                                   off and loading zone at the front of the building

 4                              b. The non-directed walk area between the passenger drop-off and loading zone

 5                                   and the primary facility entrance has non-compliant slopes exceeding 1:48

 6                              c. The opening force and closing speed of numerous interior doors is not

 7                                   maintained in compliance

 8                              d. Tactile “EXIT” signs are not provided at all doors identified by an illuminated

 9                                   EXIT sign

10                              e. Required exits do not continue at the exterior with an accessible route to the

11                                   public right of way or to a safe dispersal area

12                              f. Accessible tables are not provided at the Bistro or main Dining Room

13                              g. Drinking fountain at the atrium is not in an alcove or otherwise protected for

14                                   persons with visual disability

15                              h. Restroom doors serving the lobby / atrium have kick-down door stops at the

16                                   push side of the doors that may conflict with a wheelchair users foot petals

17                                   when trying to enter

18                              i. Restroom lavatories are protruding objects into the circulation space

19                              j. Coat hooks are too high

20                              k. The flush handle at the toilet is adjacent the sidewall and not reachable by a

21                                   person using a wheelchair

22                              l. Toilet paper dispensers are not within reach range of the toilet

23                  Within resident units, barriers included but not limited to:

24                              m. At entry doors to units the closing speed is too fast and not maintained

25                                   compliant

26                              n. Sinks are too high

27                              o. Sliding closet door hardware that is not usable

28                              p. Closet poles and shelves that are not within reach range
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       25
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 27 of 46



 1                              q. The thresholds at sliding doors to the patio / balcony is too high

 2                              r. Windows require more than 5lbs force to open

 3                              s. Thermostats are too high and not within reach range

 4                              t. Bathroom lavatories without a compliant knee space

 5                              u. Water and waste lines under the lavatory are not protected from contact

 6                              v. Insufficient clearance at the toilet to make a transfer from a wheelchair

 7                              w. Incorrect toilet location in relation to a side wall that is not provided

 8                              x. Non-compliant showers with a curb that prevents a wheelchair user from

 9                                   rolling in to make a transfer, a handheld shower that is not within reach range,

10                                   and the lack of a fold-down shower seat as required

11                  49.   Building department records show that Brookdale San Ramon was the subject of

12    extensive alterations after January 26, 1992. City of San Ramon Building Permit no. 02-0759 was

13    issued in August 2003. The permit authorized the construction of a 3-story, 36,000 sq. ft. addition

14    valued at $3,300,000. SANR000413. In November of 2003, the kitchen was renovated, and the

15    basement dining areas was enlarged by 340 sq. ft. as per permit no. 03-1626. The same permit also

16    authorized a change out of the HVAC system, and secured approval for conversion of top floor to

17    R2.1 occupancy with added smoke barrier. The entire permit was valued at $708,444. SANR000203.

18    My inspection identified the following barriers with respect to these alterations that do not comply

19    with federal and/or California access standards:

20                  Common area access barriers, including but not limited to:

21                              a. The reception desk at the entry lobby does not have an accessible section of

22                                   the service counter

23                              b. At the exterior push plate for the power operated primary entry door, there is

24                                   not a level wheelchair space to safely approach and use the push plate opener

25                              c. At the ramp to the primary building entry there is not a level top landing

26                              d. At the ramp to the primary building entry there is not a level bottom landing

27                              e. The handrail extension at the bottom of the ramp is less than 12” before the

28                                   return
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       26
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 28 of 46



 1                              f. The handrail extension at the bottom of the ramp is less than 12” before the

 2                                   return

 3                              g. At the non-directed walk area at the bottom of the stair and ramp to the

 4                                   primary building entry there are slopes measured up to 9.0%

 5                              h. At the walk connecting the accessible parking to the primary building entry

 6                                   there are running slopes up to 12.4% and the walk width is not compliant at

 7                                   46”

 8                              i. The curb ramps along the accessible route from the public right of way and

 9                                   accessible parking to the primary building entry do not have detectable

10                                   warnings as required

11                              j. The accessible parking spaces do not have the required “MINIMUM FINE

12                                   $250” signs

13                              k. The slopes at the accessible parking spaces and access aisles are not compliant

14                              l. There is not a compliant passenger drop-off and loading zone for the

15                                   Brookdale bus

16                              m. There is not a compliant passenger drop-off and loading zone for the

17                                   Brookdale van (separate location from the bus)

18                  Within resident units, barriers including but not limited to:

19                              n. Entry door peep holes that are too high

20                              o. Entry door hardware required pinching and twisting of the wrist to lock

21                              p. Sinks that are too high and do not have the required knee and toe space for

22                                   forward approach

23                              q. Kitchen counters that are too high

24                              r. Controls for the cooktop exhaust fan that are not within reach range

25                              s. Sliding closet door hardware that is not usable

26                              t. Closet poles and shelves that are not within reach range

27                              u. Windows that require more than 5lbs force to open

28                              v. Bathroom lavatories without a compliant knee space
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       27
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 29 of 46



 1                              w. Water and waste lines under the lavatories that are not protected from contact

 2                              x. At the medicine cabinet the shelves are not within the required reach range

 3                              y. Insufficient clearance at the toilet to make a transfer from a wheelchair

 4                              z. Insufficient maneuvering space in front of the toilets

 5                              aa. Incorrect toilet flush handle location

 6                              bb. Rear wall grab bars at the toilet that are not provided

 7                              cc. Side wall grab bars at the toilet not correctly located

 8                              dd. An accessible shower size and configuration is not provided

 9                              ee. Non-compliant showers with a curb that prevents a wheelchair user from

10                                   rolling in to make a transfer, a handheld shower that is not within reach range,

11                                   and the lack of a fold-down shower seat as required

12                  50.   None of these alteration projects complied with federal or state disability access

13     requirements. It is my expert opinion that the root cause of this non-compliance is Brookdale’s

14     deficient policies and practices regarding alterations to its facilities. According to its designated Rule

15     30(b)6) witness, Mr. Bowman, Brookdale has no written policies and procedures regarding

16     compliance with the ADA or California access standards when performing alterations to its facilities.

17     Deposition of Kevin Bowman dated June 23, 2021, at 62:13-20; 139:2-142:25. In fact, Brookdale’s

18     Rule 30(b)(6) witness, testifying on behalf of Defendants, had no understanding of what constitutes

19     an alteration within the meaning of the ADA and its regulations. Id. at 148:14-149:2. Brookdale

20     further testified, through its designees, that it has no internal department or employees who have

21     expertise in disability access (id. at 40:11-41:14), that its employees are not trained on the

22     requirements of federal or state access standards including the 2010 ADAS, the 1991 ADAAG and

23     the CBC (id. at 38:1-10), and that it does not use any external access consultants for purposes of

24     reviewing construction projects to ensure that they comply with federal and state access standards (id.

25     at 119:1-7). Brookdale does not conduct any survey or inspection at project close-out to determine

26     whether its alterations projects comply with applicable access standards, nor does it have any written

27     procedures or checklists for ensuring that alterations comply with the requirements of federal or state

28     access standards. Id. at 139:10-142:24. And Brookdale has not set any deadline for the remediation
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       28
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 30 of 46



 1     of any elements in newly constructed or altered facilities that do not comply with the 2010 ADAS or

 2     the 1991 ADAAG. Id. at 106:5-21. Based on this testimony, my facility surveys and review of the

 3     material in this case, it is my opinion that Defendants’ policies and procedures do not ensure

 4     compliance with the ADA and other disability access laws and standards and, in fact, make non-

 5     compliance virtually certain.

 6                                            Readily Achievable Barrier Removal

 7                  51.   Under the ADA and California law, the owner, operator and/or manager of a public

 8     accommodation is required to remove access barriers from its facilities regardless of the age of the

 9     facility if doing is “readily achievable, i.e., easily accomplished and able to be carried out without

10     much difficulty or expense. 28 C.F.R. § 36.304. The U.S. DOJ has provided a non-exhaustive list of

11     examples of readily achievable barrier removal at 28 C.F.R. 36.304(b). These categories of readily

12     achievable barrier removal include the following types of barriers:

13                            i. Installing accessible ramps, or making parts of existing ramps accessible

14                            ii. Marking curb ramps in sidewalks and entrances

15                           iii. Repositioning shelves

16                           iv. Rearranging tables, chairs, vending machines, or other furniture

17                            v. Adding raised markings on elevator control buttons

18                           vi. Installing flashing alarm lights

19                          vii. Widening doors

20                         viii. Installing accessible door hardware

21                           ix. Installing grab bars where required and in the proper locations

22                            x. Rearranging toilets partitions to increase maneuvering space

23                           xi. Insulating lavatory pipes under sinks to prevent burns or abrasions

24                          xii. Installing a raised toilet seat or replacing toilets for correct seat height

25                         xiii. Replacing toilet tanks to provide the flush handle on the wide side

26                          xiv. Installing or lowering a bathroom mirror

27                          xv. Repositioning the paper towel dispenser in a bathroom

28                          xvi. Creating designated accessible parking spaces
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       29
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 31 of 46



 1                         xvii. Removing high pile, low density carpeting

 2                  52.   The Brookdale facilities that I inspected contained many of the types of barriers

 3     identified by the U.S. DOJ as being “readily achievable” to remove, including those identified above.

 4     In my experience, public accommodations in California routinely remove these types of barriers from

 5     their facilities so as to make them more accessible to persons with mobility and/or vision disabilities

 6     and to comply with Title III of the ADA.

 7                  53.   All of the foregoing barrier removal work can and should be conducted at Brookdale’s

 8    facilities. In my experience working with many Title III entities, including McDonald’s, Chevron,

 9    and Pester Marketing, among others, this type of barrier removal work can be performed for

10    approximately $5,000 or less. Much of the work can be performed by maintenance staff. Indeed, this

11    kind of barrier removal work is routinely carried out by Title III entities and is relatively easy to do.

12    The removal of such barriers confers tremendous benefit on persons with mobility and/or vision

13    disabilities by making a facility much easier for them to access and use a facility’s path of travel,

14    common areas, residential units, and bathrooms, and to do so in a manner that minimizes injury and

15    physical fatigue that can arise from encountering and struggling with access barriers. Also, removing

16    these types of barriers promotes safety and independent use by persons with mobility and/or vision

17    disabilities, while also fostering equality of use with nondisabled persons and social integration.

18                  54.   The DOJ’s list of readily achievable barrier removal categories is illustrative, not

19    exhaustive. Brookdale’s facilities were also characterized by many other types of barriers that, in my

20    experience, can also be removed easily and at relatively low cost. These categories include, but are

21    not limited to, the following:

22                              a. Lowering clothing rods that are too high

23                              b. Lowering thermostat controls that are too high

24                              c. Lowering coat hooks that are too high

25                              d. Providing compliant controls for windows and blinds

26                              e. Providing medicine cabinets and other fixtures that are within reach range for

27                                   persons with mobility disabilities

28                              f. Adding compliant handrails or handrail extensions to ramps and stairs
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       30
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 32 of 46



 1                              g. Providing contrast striping on stairs

 2                              h. Providing toilets that comply with federal / CA access standards in terms of

 3                                   height and distance from the adjacent wall

 4                              i. Replacing inaccessible furniture that lacks the knee and/or toe clearance

 5                                   required by federal access standards with compliant furniture

 6                              j. Lowering and maintaining excessive door pressures and closing speeds

 7                              k. Remediating door thresholds that are too high

 8                              l. Providing compliant pull and push side maneuvering space at doors

 9                              m. Providing power door openers at critical locations such as fire rated doors at

10                                   restrooms

11                  55.   All of the Brookdale facilities that I inspected contained numerous barriers that were

12    readily achievable to remove (i.e., easily accomplished, and able to be carried out without much

13    difficulty or expense) including those discussed in the preceding paragraph. In my experience

14    working with many Title III entities, including those discussed above, this type of barrier removal

15    work can be performed for approximately $5,000 or less. Again, much of the work can be performed

16    by maintenance staff. These categories of barriers can typically be removed easily. As stated, the

17    removal of these types of barriers confers tremendous benefit on persons with mobility and/or vision

18    disabilities by making a facility much easier for them to access. Completing these barrier removal

19    actions would make it much easier for Brookdale’s residents with mobility and/or vision disabilities to

20    use the facility’s path of travel, common areas, residential units, and bathrooms, and to do so in a

21    manner that minimizes the risk of injury and physical fatigue that arises from encountering and

22    struggling with access barriers. Also, removing these types of barriers promotes safety, independence,

23    and equal access for persons with mobility and/or vision disabilities, while also fostering equality and

24    social integration.

25                  56.   Based on the testimony of Brookdale’s Rule 30(b)(6) designee, Mr. Bowman,

26    Brookdale has no written policy regarding the identification or removal of barriers that are readily

27    achievable. Deposition of Kevin Bowman of June 23, 2021, at 62:22-63:4; 166:14-20. Brookdale has

28    not conducted any survey or analysis to identify access barriers that would be readily achievable to
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       31
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 33 of 46



 1    remove from its assisted living facilities in California. Nor has Brookdale developed any plan or set

 2    any deadline for completing the removal of such access barriers from its facilities. Id. at 173:2-10. It

 3    is my opinion that the existence of pervasive and widespread barriers in Brookdale’s facilities that

 4    could be removed without much difficulty or expense is a result of Brookdale’s failure at both the

 5    corporate and facility-level failure to adopt and implement appropriate policies and procedures

 6    regarding readily achievable barrier removal in its California assisted living facilities. Numerous

 7    other Title III entities in California with which I have worked as an expert access consultant have

 8    adopted and implemented such policies and procedures; Brookdale needs to do the same.

 9                                                         CONCLUSIONS

10                  57.   Based on my site inspection and those of Jeff Mastin, it is my expert opinion that

11    Brookdale’s facilities contain repeated violations of the 2010 ADAS, the 1991 ADAAG and the CBC,

12    which appear throughout their facilities. It is my opinion that a public accommodation must put into

13    place appropriate quality control policies and procedures for new construction and alterations projects

14    to prevent these access barriers.

15                  58.   Ultimately, the responsibility for compliance with both the applicable federal access

16    standard and the CBC lies with the facility owner, operator and/or manager, and their design team.

17    Therefore, it is my professional opinion that it is critical for owners to develop and enforce appropriate

18    policies and procedures regarding construction. Based on my professional experience, the following

19    elements must be present in any effective policy and procedure of a public accommodation to ensure

20    that construction is performed in compliance with the ADA and parallel California laws:

21                        a. All elements of accessibility must be designed to the strictest requirements of the

22                            applicable federal access standard—in this case the 2010 ADAS—and the CBC.

23                        b. The design plans must be reviewed not only for compliance with the CBC, but also

24                            with the applicable federal access standard.

25                        c. It must be emphasized to the General Contractor and relevant sub-contractors at the

26                            pre-construction and subsequent construction meetings that conformance with the

27                            contract documents with regard to construction of accessible elements is critical.

28                            The obligation to comply with all applicable disability access standards—including
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       32
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 34 of 46



 1                            federal access standards (in this case the 2010 ADAS)—should be stated within the

 2                            contract documents themselves.

 3                        d. A person of responsibility must be assigned to monitor the construction for

 4                            conformance with the contract documents throughout the construction process. This

 5                            person must have the appropriate training and knowledge regarding disability access

 6                            requirements and may be the architect, inspector of record, construction manager, or

 7                            other representative of the public entity. This person should report directly to the

 8                            owner or the owner’s Representative, as well as the entity that operates and/or

 9                            manages the facility.

10                        e. Inspections of the built facility must review not only for compliance with the CBC,

11                            but also with the applicable federal access standard.

12                        f. Non-compliant work must be fixed prior to acceptance of the project by the owner,

13                            operator and/or manager and the filing of the notice of completion and payment of

14                            retention.

15                  59.   In my expert opinion, these are the policies and procedures that must be followed by a

16    public accommodation, whether by its architect, or other specified responsible person, to ensure

17    compliance with the federal disability access standards (in this case the 2010 ADAS) and the CBC

18    accessibility requirements. Based on my review of the deposition testimony, Brookdale does not have

19    such policies and procedures in place with respect to either new construction or alterations. In my

20    expert opinion, Brookdale has performed alterations that do not comply with federal and state access

21    standards, and this non-compliance is the result of its failure to have appropriate policies and

22    procedures in this area.

23                  60.   With respect to newly constructed or altered facilities that do not comply with the 2010

24    ADAS, the 1991 ADAAG or the CBC, it is my expert opinion that Brookdale has failed to adopt and

25    implement necessary policies and procedures for bringing such facilities into compliance with the

26    2010 ADAS and the 2019 CBC. In particular, Brookdale has failed to conduct an access survey or

27    inspection of such facilities to determine if they contain elements that do not comply with the 2010

28    ADAS, the 1991 ADAAG or the applicable iteration of the CBC. If Brookdale had performed such a
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       33
                   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 35 of 46



 1    survey or inspection of its newly constructed or altered facilities, it would have identified barriers

 2    therein, as shown by the inspections I performed and those done by Mr. Mastin. Brookdale must

 3    conduct a comprehensive access survey of its newly constructed or altered facilities to evaluate their

 4    compliance, and then set prompt deadlines for the remediation of the access barriers in those facilities.

 5                  61.   In my professional opinion, no facility or portion of a facility can be considered fully

 6    accessible unless it complies with the minimum standards established by the applicable federal and

 7    state access standards, including the 2010 ADAS, the 1991 ADAAG and the CBC. These are the

 8    standards that has been established by the ADA, the U.S. Department of Justice and the California

 9    legislature as allowing most persons with disabilities to use buildings and facilities safely and

10    independently, and on an equal basis with non-disabled persons. In my professional opinion, the

11    widespread, repeated violations of these minimum standards in all parts of Brookdale’s facilities make

12    it inevitable that any person with a mobility and/or vision disability who resides at Brookdale’s

13    facilities will encounter significant access barriers that will impact their entire experience and deny

14    them full and equal enjoyment of the facility and its accommodations.

15

16                 I declare under penalty of perjury under the laws of the United States that the foregoing is true

17    and correct.

18                 Executed on August 18, 2021, in Santa Rosa, California.

19

20
21                                                           __________________________________________
                                                             Gary K. Waters, AIA
22

23

24

25

26
27

28
     [3779754.2]           DECLARATION OF GARY WATERS ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                          Stiner et al., v. Brookdale Senior Living, Inc., et al., Case No. 4:17-cv-03962-HSG (LB)
                                                                       34
Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 36 of 46




                   Appendix A
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 37 of 46




Curriculum Vitae
                                  Gary Waters, Architect, CASp
                                  Gary Waters Architectural Corporation
                                  Dba - Pacific Access Consulting
                                  Dba – Gary Waters Architect

                                  California Architect License No.: C-19677
                                  Renewal pending

BACKGROUND                        California Certified Access Specialist: CASp 065
                                  Renewal pending

Gary Waters is the president of Gary Waters Architectural Corporation, doing business as
Pacific Access Consulting and Gary Waters Architects. Mr. Waters brings over 35 years of
experience in the practice of architecture in a variety of project types, including corporate
offices, community centers, athletic facilities, neighborhood commercial/retail, regional retail,
medical office, OSHPD approved medical facilities, childcare, educational facilities.

Since 2000, Mr. Waters has focused his practice on accessibility and universal design, providing
comprehensive access management services to public and private clients. He is responsible for
project development, client relations, and providing access consulting services and litigation
support. Mr. Waters is a recognized expert in the field of accessibility with significant
knowledge and experience in all facility related accessibility laws and regulations, including the
Americans with Disabilities Act. Notable clients/projects include, County of Alameda, Sonoma
Developmental Center, UC Riverside, Napa Valley College, City College of San Francisco, Santa
Rosa Junior College, Division of the State Architect, McDonalds, YUM! Foods and Staples.

Preferring a proactive approach to access management, Mr. Waters has developed a suite of
Comprehensive Access Management Services, designed to assist public and private entities in
meeting their obligations for access in an efficient and effective systems approach. Services
Include:
        Access Consulting                        Access Surveys
        Transition Planning                      Self Evaluations
        Architectural Design                     Access Scope Development
        Access Plan Review                       Access Construction Observation
        Accessibility Training                   Litigation Support & Expert Witness

Mr. Waters provides accessibility consulting, litigation support and acts as an expert witness on
accessibility issues. Notable cases he has been involved with include Lopez v. San Francisco
Unified School District, Cherry v. City College of San Francisco and Kirola v. City and County of
San Francisco, Nevarez v. 49ers Football Company, LLC.




                                                                                              1
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 38 of 46




RELEVANT PROJECTS

City College of San Francisco – Chinatown Campus
808 Kearny Street, San Francisco
The project included the construction of two new education towers, 14-stories and 5-
stories, in the financial district of San Francisco. WMRA provided access consulting to the
District. Services included design consultation and peer review of construction documents,
periodic site visits during construction to review access compliance including rough-in of
plumbing and electrical elements, verifying framing dimensions, working with general
contractor and trades on critical access issues during construction, review of shop drawings
and construction changes, final access punch list and project acceptance.

City College of San Francisco – District Wide Access Barrier Removal
Gary Waters, of Waters MacRae Architects was named in settlement agreement for Cherry
v City College of San Francisco, an ADA class action lawsuit, to monitor the implementation
of the agreement. Services included peer review of construction documents, final access
punch list and project acceptance. In addition, Mr. Waters participated in Federal Court
hearings reviewing the progress of the settlement agreement.
Ocean Avenue Campus
        Science Hall                            Cloud Hall
        Student Health Center                   Batmale Hall
        Creative Arts                           Visual Arts
        Rosenberg Library                       Community Health & Wellness Center
        Student Union                           Smith Hall
        John Adams Campus                       Downtown Campus
        Evans Campus                            Alemany Campus
        Mission Campus

San Francisco Unified School District – Implementation of the Settlement Agreement in
Lopez v SFUSD
Gary Waters of Waters MacRae Architects was hired by the law firm of Schneider Wallace to
conduct oversight of the District’s compliance with the settlement agreement. Services
included peer review of construction plans for access compliance and post construction
access compliance evaluation surveys and report.

McDonald’s Corporation – Sierra Pacific Region
Gary Waters has been working with the Sierra Pacific Region of McDonald’s for more than
10-years providing access compliance services. The region covers Northern California and
Northern Nevada. McDonald’s has implemented a national comprehensive access
management program to ensure access compliance. Services provided by Mr. Waters to the

                                                                                              2
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 39 of 46




Sierra Pacific Region include access training seminars for McDonald’s construction
managers, architects and general contractors, Pre-construction access surveys, post
construction access surveys and CASp determinations, peer review of construction
documents including decor as-needed construction services and consultation. Mr. Waters
has completed over 500 access surveys and reports for McDonald’s. The following 50
locations represent a partial list of project sites:
        Arcata – 4901 Valley West Blvd.                 Anderson – 3100 McMurray Dr.
        Auburn – 2865 Bell Rd.                          Auburn – 13370 Lincoln Way
        Carson City NV – 3344 N. Carson St.             Citrus Heights – 6212 Auburn Blvd.
        Citrus Heights – 7632 Sunrise Blvd.             Clovis – 412 W. Shaw St.
        Coalinga – 25145 W. Dorris St.                  Coalinga – 396 W. Elm St.
        Cupertino – 10990 N. Sterling Rd.               Elk Grove – 2733 Elk Grove Blvd.
        Fair Oaks – 5288 Hazel Ave.                     Fremont – 40708 Grimmer Blvd.
        Dinuba – 1725 E. El Monte Way                   Concord – 4550 Clayton Rd.
        El Dorado Hills – 4312 Town Center Dr.          Fremont – 38860 Fremont Blvd.
        Fresno – 4505 Kings Canyon                      Fresno - 34898 E. Kings Canyon
        Fresno – 5600 E. Ashlan Ave.                    Fresno – 4190 N. West Ave.
        Fresno – 1248 N. Blackstone Ave.                Fresno – 669 E. Nees Ave.
        Galt – 324 Pine St.                             Hayward – 26253 Mission Blvd.
        Healdsburg – 110 Healdsburg Ave.                Hollister – 1711 Airline Highway
        McKinleyville – 1500 Anna Sparks Way            Eureka – 1730 4th St.
        King City – 1350 Broadway St.                   Lemoore – 1089 N. Lemoore Ave.
        Lincoln – 290 G Street                          Lindsay – 208 N. Highway 65
        Lodi – 6440 W. Banner St.                       Lodi – 200 W. Lodi Ave.
        Lodi – 841 E. Kettleman Ln.                     Los Banos – 1480 S. Mercy Springs
        Los Banos – 1550 W. Pacheco Blvd.               Manteca – 1236 W. Yosemite Ave.
        Martell – 12201 Trade Center Dr.                Merced – 1821 Motel Dr.
        Milpitas – 1795 Landess Ave                     Modesto – 4120 Dale Rd.
        Modesto – 2118 McHenry Ave.                     Modesto – 901 N. Carpenter Rd.
        Modesto – 2601 Oakdale Rd.                      Modesto – 1800 Prescott Rd
        Modesto – 3430 Tully Rd.                        Modesto – 1280 E. Whitmore

Sebastiani Theatre – Sonoma, California
The Sebastiani Theatre, located on the historic Sonoma Plaza in Sonoma California, is a
designated historic landmark. The building is privately owned and leased by the City of
Sonoma for the purposes of ensuring the continuing use as a theatre of this historic and
iconic representation of the City Sonoma. The City in turn leases the theatre to a non-profit
group operating group. The City commissioned and access evaluation of the facility for
compliance with the Americans with Disabilities Act and the California Building Code as part


                                                                                             3
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 40 of 46




of their lease renewal negotiations with the building owner. There were several
overlapping accessibility issues that came into play including:
    1. Historic Building Considerations
    2. ADA Title II - for State and Local entities
    3. ADA Title III – For Public Accommodations
    4. Allocation of access responsibilities between Lessor, Lessee and Sub-Lessee
Gary is currently working as a consultant to the City of Sonoma to review plans and
construction for an alteration project to remove access barriers.

Sonoma Bungalows Boutique Hotel
Gary Waters is the project architect and access consultant for the design and construction
of Sonoma Bungalows Boutique Hotel just off the square in Sonoma, CA. The project will
incorporate 3-existing single family 2-bedroom, 2-bath homes and construct 5 new 1-
bedroom guest suites and a hospitality room as part of a new luxury boutique hotel project.

MacArthur Place Hotel – Sonoma, California
Gary Waters of Pacific Access Consulting has been retained to provide access consulting
services for the renovation of the existing hotel facility located a short walk from the historic
town square in Sonoma. The project includes conducting access compliance evaluation
surveys and assisting the design and ownership team in developing the access scope of work
for the project to ensure compliance with obligations under the ADA. In addition, Gary has
provided access plan review services and will provide access construction services and post
construction access survey and access project acceptance.

Far Niente and Nickel and Nickel Wineries – Oakville, Napa Valley, CA
Pacific Access Consulting has been retained to provide access consulting services as part of
the design team for the renovation, alteration, and expansion of both wineries. Both
wineries include historic buildings and facilities. In addition, each facility includes wine
making facilities, barrel room, and caves. Each also includes hospitality facilities including
indoor and outdoor tasting venues, day use facilities and gardens.

San Francisco Conservatory of Music
Pacific Access Consulting, led by principal Gary Waters, is currently providing access
consulting services as part of the design team let by Mark Cavagnero Architects, for the
design and construction of the new 12-story San Francisco Conservatory of Music project.
The project includes teaching and performance spaces, student housing, replacement rental
housing and a restaurant. The project has a prominent on Van Ness Ave, in the San
Francisco Civic Center across from the Louise M. Davies Symphony Hall.




                                                                                                 4
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 41 of 46




A University of California – Student Housing Project
The Pacific Access Consulting has been retained by the project architect as part of the
design team for this project, currently in the design development phase. The project
includes housing for approximately 5,000 students. In addition, the project includes
teaching space and student support service and social spaces.



Selected CASp Surveys and Reports – A Partial List of Clients
Mending Wall Winery
3730 Silverado Trail, St. Helena, CA 94574
Marini’s Inn & Restaurant
2500 El Camino Real, Santa Clara, CA 95051
G & G Supermarket
1211 W. College Ave., Santa Rosa, CA 95401
Carneros Deli & Bonneau’s 76 Service Station
12001 & 12003 Arnold Dr., Sonoma CA
Acacia Winery
2750 Las Amigas Road, Napa, CA
Alderbrook Winery
2306 Magnolia Dr. Healdsburg, CA
Provenance Winery
1695 St Helena Highway, Rutherford, CA
Andy’s Market
1691 Gravenstein Highway North, Sebastopol, CA
Café Trieste
4045 Piedmont Avenue, Oakland, CA
Café Trieste
2500 San Pablo Avenue, Berkeley, CA
Country Club Apartments
2700 East Tabor Avenue, Fairfield, CA
Burbank Heights and Orchard senior Apartments
7777 Bodega Avenue, Sebastopol, CA
Perko’s Restaurant
829 11th Street, Lakeport, CA
Vineyard Business Park
7419-7555 Southfront Road, Livermore, CA
Fountain Grove Center
3550, 3554, 3558 Round Barn Blvd., Santa Rosa, CA
Waterfall Towers Business Park
2455 Bennett Valley Road, Santa Rosa, CA

                                                                                          5
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 42 of 46




Hookston Square Business Park
3478 & 3489 Buskirk Avenue, Pleasant Hill, CA
Digital Realty
200 Paul Avenue, San Francisco, CA
Canevari’s Delicatessen & Catering
695 Lewis Road, Santa Rosa, CA
Exchange Bank
Various branch location throughout Sonoma County and
Administrative Offices -440 & 444 Aviation Blvd. Santa Rosa, CA
Point West Professional Center
2448 Guerneville Road, Santa Rosa, CA
Winners Circle Beach and Tennis Resort
550 Via De La Valle, Solana Beach, CA
Elk Valley Rancheria and Casino
Various Tribal buildings and facilities including Elk Valley Casino, Crescent City, CA
Christian Brothers De La Salle Institute
4405 Redwood Road, Napa, CA 94558
Yum! Foods
The project included conducting access surveys for more than 300 fast food restaurants
(Taco Bell, Pizza Hut, Wing Stop, KFC) in 15 states.
Staples
The project included conducting access surveys at 15 staples locations in California.
La Playa Carmel
75 room luxury historic hotel in Carmel, Ca
Chevron
Access Consulting Services for various sites in California
British Petroleum
Access Survey and consulting for various Arco sites throughout Northern California
O’Reilly Auto Parts
Access Consulting Services for various sites in California
Kaiser Medical Offices
Access Consulting Services for Medical Office facilities in Sonoma and Marin Counties
Medical Office Building, Sebastopol, CA
Access Consulting Services and Barrier Report
Annadel Medical Group Offices – St Joseph Health, Santa Rosa, CA
Access Consulting for full tenant improvements for new medical offices
Baechtel Creek Medical Clinic, Willits, CA
Access Consulting Services and Barrier Report
Mark Cavagnero Associates Architects – San Francisco Conservatory of Music
Access Consulting Services, Access Plan Review, Access Construction Services and Project
Acceptance
A Squared Architects – Lasseter Family Winery, Glen Ellen, CA

                                                                                           6
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 43 of 46




Access Consulting Services and Barrier Report, Access Plan Review
A Squared Architects – Cliff Lede Vineyards, Napa, CA
Access Consulting Services and Barrier Report, Access Plan Review
A Squared Architects – Rivers Marie Winery, Calistoga, CA
Access Consulting Services and Barrier Report, Access Plan Review

Division of the Architect Access Consulting Services
As a principal of Architerra, LLP, Gary Waters managed the firm’s work with the Division of
the State Architect providing access consulting services. Gary personally provided or
supervised access plan reviews conducted back checks and providing in-house staffing at
DSA Regional offices (Oakland, Sacrament, Los Angeles, and San Diego) from 2001 thru
2011. During this time, the firm completed an estimated 500 plus plan reviews. Mr. Waters
is currently providing services to DSA as a consultant to Synthesis Partners, Inc.

CASp Surveys and Reports – California State Leased Facilities
California State Water Quality Control Board
5550 Skylane Blvd., Santa Rosa, CA
California Department of Fish and Game
5355 Skylane Blvd., Santa Rosa, CA
Hookston Square - State Leased Facility
3478 Buskirk Ave 2nd Floor, Concord CA
California Department of Fish & Wildlife
3633 Westwind Blvd., Santa Rosa, CA

Access Litigation Support and Expert Witness Services - Title II Cases – A Partial List of
Cases
Lopez v San Francisco Unified School District
Gary Waters conducted access surveys at multiple elementary, middle, and high schools as
part of the discovery process. Litigation support also included providing declarations,
depositions, and participation in settlement agreement discussions.

Cherry v City College of San Francisco
Gary Waters provided litigation support services including conducting access survey and
compiling reports at many CCSF facilities, providing declarations, depositions, and
participation in settlement agreement discussions.

Kirola v City and County of San Francisco
Gary Waters’s involvement in discovery in this case included conducting access survey and
compiling reports for a wide variety of San Francisco City and County parks and recreation
facilities and street and sidewalk surveys. Gary also participated in settlement discussions,



                                                                                                7
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 44 of 46




provided declarations, depositions, and expert trial testimony. This case is on-going and in
the appeal process.

Yates v County of Marin
Gary Waters work in discovery in this case included conducting access survey and compiling
reports for a wide variety of Marin County facilities, including County administration
buildings and street and sidewalk surveys. This case has reached settlement.

Willits v. City of Los Angeles
Gary Waters conducted field surveys of the public right of way. This case has reached
settlement.

Hammond v. County of Tehama
Gary Waters provided access consulting and litigation support services on behalf of the
plaintiff. Mr. Waters also gave deposition testimony in this case. This case has reached
settlement.

Nevarez v. Forty Niner’s Football Company, LLC, and the City of Santa Clara
Gary Waters is an expert for the plaintiff in this case providing access consulting and
litigation support services. Gary was part of a team of access experts who worked on this
case to conduct access surveys and produce expert reports, rebuttal reports, and
depositions. Mr. Waters participated in settlement discussions and developed exhibits that
became part of the settlement agreement. Mr. Waters has been named the access expert
retained by the 49ers Football Company, Inc. for the implementation period of the
settlement agreement.

Stiner v. Brookdale Senior Living, Inc.
Gary Waters is an expert for the plaintiff in this case providing access consulting and
litigation support services. Gary is part of a two-person team of access experts working on
this case including over 70 facilities in California. Mr. Waters will complete surveys and
reports for approximately 35 facilities. Additional expert witness services will likely include
expert reports, rebuttal reports, depositions, settlement meetings, and expert witness
testimony. This case is on-going.

Selected Access Litigation Support and Expert Witness Services - Title III Cases –
A Partial List of Cases
        Jean Ryker vs. Beach Blanket Babylon
        Al De La Campa v. Benihana
        Guy Jones v. 3701 J Street LLC
        Gail Moran v. Hobby Lobby

                                                                                                  8
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 45 of 46




         Jean Ryker v. Gar Woods Grille and Pier
         Donna White v. Lucky Supermarket
         Roberta Hays v. Sutter Lakeside Hospital
         Wadman v. Discovery Bay Yacht Harbor, LLC et al.
         Jean Riker v. Garden Court Hotel, et al.
         Shaw v. Kelly
         Nevarez v. Coyote Creek Golf Club
         Nevarez v. Hiddenbrooke Golf Club
         Nevarez v. Canyon Lakes Golf Club
         Nevarez v. City of Fairfield Paradise Valley Golf Club
         Cleveland v. Cannery Row Brewing Company
         Shultz v. City of Pacifica
         White v. Southland Office Building
         Bereola v. Valero
         Llewellyn v. The Greenery Restaurant
         Seldon v. Market Plaza, LLC
         Seldon v. Dignity Health St Mary’s Medical Center
         Harris v. JT Hospitality
Litigation Consulting Services
         McDonald’s – 587 El Camino Real, South San Francisco, CA
         McDonald’s – 16th & Mission, San Francisco, CA
         McDonald’s- 3rd & Townsend San Francisco, CA
         Torta Ahogada – Oakland, CA
         Rio Nido Lodge – Rio Nido, CA
         Canevari’s Deli & Catering, Santa Rosa CA
         Perkos Restaurant – Lakeport, CA
         Nella Oil – Placerville, CA
         Nella Oil – Clearlake, CA
         24 Hour Fitness – Ladera Ranch, CA

Americans with Disabilities Act Title II Transition Plan
University of California Riverside – ADA Transition Plan Update
Gary Waters, in addition to conducting access surveys, led the transition plan development
process for the including implementing new standards at the time for housing at places of
public education.

Napa Valley College ADA Transition Plan Update
Gary Waters led this firm’s work to conduct campus wide accessibility surveys and produce
barrier reports. Gary worked with the NVC committees to develop the transition plan and
establish priorities for barrier removal.

                                                                                             9
   Case 4:17-cv-03962-HSG Document 280 Filed 08/18/21 Page 46 of 46




Gavilan College – ADA Self-Evaluation and Transition Plan Update Project
Gary Waters and Pacific Access Consulting is working with Bureau Veritas and Steinberg
Hart to assist Gavilan Community in developing an ADA Self Evaluation and Transition Plan.
This project is being undertaken as part of the District’s master planning process for their
Measure X funds. The ADA transition and barrier removal plan will be coordinated with the
facility master plan to leverage construction dollars to the greatest extend possible while
achieving campus wide accessibility within a reasonable time frame.

Seminars and Workshops Presented

Welcome SB 1608 – New ADA Lawsuit Protection
2009 Santa Rosa CA

CSI / AIARE ADA Seminar – Accessibility in California: Welcome to the Future
March 16, 2011, Santa Rosa, CA, 5-hour seminar for California and AIA continuing education
learning units.

AIAEB ADA Seminar – Accessibility in California: Welcome to the Future
August 22, 2011, Oakland, CA, 5-hour seminar for California and AIA continuing
education learning units.

AIARE ADA Seminar – Accessibility in California: Welcome to the Future
August 26, 2011, Santa Rosa, CA, 5-hour seminar for California and AIA continuing
education learning units.

McDonalds Regional ADA Summit 32013 – Sierra Pacific Region
August 27, 2013, Walnut Creek, CA, A 4-hour seminar for McDonald’s construction
managers and architects to review the 2010 ADA and the recently adopted CBC.

AIASJ ADA Seminar – Accessibility in California
April 19, 2015, Fresno, CA, 5-hour seminar for California and AIA continuing education
learning units.

AIAEB ADA Seminar – Accessibility in California
August 28, 2015, Oakland, CA, 5-hour seminar for California and AIA continuing education
learning units.

Certified Access Specialist Institute (CASI) 2020 Fall Presentation
Nevarez v Forty Niners Football Company, LLC – Anatomy of a Class Action Accessibility
Lawsuit, Settlement, and Lessons Learned
CASI is the professional organization for Certified Access Specialists. This workshop was
presented virtually with the lead attorney in this case, Guy Wallace, on October 16, 2020.



                                                                                             10
